Case 4:23-cr-01411-RM-AMM Document1 Filed 08/15/23 Page 1 of 2

CRIMINAL COMPLAINT
(Electronically Submitted)

United States District Court DISTRICT of ARIZONA

United States of America DOCKET NO.
Vv.

Manuel PUIG MAGISTRATE'S CASE NO.
DOB: 1986; United States Citizen 23-00604MJ

Complaint for violation of Title 18, United States Code, § 554(a)

On or about August 14, 2023, in the District of Arizona, Manuel PUIG knowingly and fraudulently exported
and sent from the United States, and attempted to export and send from the United States, any merchandise,
article, or object contrary to any law or regulation of the United States, and received, concealed, bought, sold,
and in any manner facilitated the transportation, concealment, and sale of such merchandise, article or object, that
is: 1000 rounds of .223 rifle ammunition and 940 rounds of 7.62x51 rifle ammunition, knowing the same to be
intended for exportation contrary to any law or regulation of the United States, to wit: Title 50, United States
Code, Section 4819; Title 15, Code of Federal Regulations, Parts 736.2, 738, and 774; all in violation of Title 18,
United States Code, Section 554(a).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On August 44, 2023, Manuel PUIG attempted to exit the United States and enter the Republic of Mexico
through the Mariposa Port of Entry in Nogales, Arizona. Customs and Border Protection Officers (CBPOs) were
conducting outbound inspections when they stopped a 2014 Dodge Avenger, bearing an Arizona license plate
driven by Manuel PUIG. PUIG’s sister was a passenger, and the vehicle was registered to her. CBP obtained a
negative outbound declaration from PUIG, to include firearms, ammunition, and any currency more than
$10,000. CBPOs asked PUIG to open the trunk of the vehicle. Upon looking in the trunk, CBPOs noticed a
speaker box which when lifted was heavier than usual. While inspecting the trunk, CBPOs heard PUIG rev the
engine. The CBPOs jumped back as PUIG accelerated and attempted to abscond into Mexico. CBPOs shut the
gate and prevented PUIG from driving into Mexico. Upon encountering the closed gate, PUIG attempted to
reverse the vehicle, but was stopped by CBPOs at gunpoint and taken into custody.

The vehicle was sent through the Z-Portal inspection where anomalies could be seen in the spare tire area of the
trunk. A firearms canine alerted to a trained odor emanating from the spare tire area of the vehicle. A subsequent
inspection of the vehicle revealed 1000 rounds of .223 rifle ammunition and 940 rounds of 7.62x51 rifle
ammunition.

During a post Miranda interview, PUIG admitted he struggles financially so he went to Mexico to get some
“work” to make extra money smuggling. PUIG admitted that he had agreed to smuggle the ammunition. PUIG
admitted he knew it was illegal to smuggle ammunition into Mexico. When asked why he tried to flee the port,
PUIG said that it was because he panicked. PUIG admitted that he did not have a license to export ammunition
into Mexico.

(BASIS OF COMPLAINT CONTINUED ON REVERSE.)

MATERIAL WITNESSES IN RELATION TO THE CHARGE: N/A

DETENTION REQUESTED SIGNATURE OF COMPLAINANT

Being duly sworn, I declare that the foregoing is pialtally signed by JARRED D FAGERLE
true and correct to the best of my knowledge. JARRED D FAGERLIE oste:20230815 1as1206-0700

“p 6 fe, oe
Pagtek (lanilense Be
gb Dat

OFFICIAL TITLE
HSI Special Agent Jarred Fagerlie

AUTHORIZED BY AUSA R. Arellano

Sworn by telephone x _

SIGNATURE OF MJ&*STRATE J9YDGE) DATE
Coe August 15, 2023

See Federal Rules of Criminal Progeny are Rules 3, 4.1, and 54

Case 4:23-cr-01411-RM-AMM Document1 Filed 08/15/23 Page 2 of 2
(BASIS OF COMPLAINANT’S CHARGE AGAINST THE ACCUSED CONTINUED.) 23-00604MJ

The ammunition found in the vehicle qualify as United States Commerce Control List items and therefore are
prohibited by law for export from the United States into Mexico without a valid license. PUIG does not possess a
license to export ammunition into Mexico.

